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Judicial HomepageSupreme CourtAbout UsHistoryJudicial OfficersJudgesMagistrate JudgesHonor Roll of JudgesHours and LocationsContact InfoOffice of the ClerkCivil DivisionLandlord TenantCivil Division FAQsContact Civil Division-STT/STJContact Civil Division-STXComplex Litigation DivisionSuperior Court Appellate DivisionProbate DivisionProbate FAQsContact Probate Division-STT/STJContact Probate Division-STXSmall Claims DivisionPreparing to File Suit in Small Claims CourtFiling Suit in Small Claims CourtFiling of Answers / CounterclaimsContinuance or Settlements Prior to a Court DateThe Trial ProcessAppealing a Small Claims CaseFAQsSmall Claims FormsContact Small Claims Division-STT/STJContact Small Claims Division-STXCriminal DivisionWhen an Arrest is MadeCriminal Court ProceedingsAppeal InformationImportant TermsContact Criminal Division-STT/STJContact Criminal Division-STXLitter and Litter EnforcementPayment InformationConservationCourt AppearanceFamily DivisionMarriageDomestic ViolenceImportant TermsFAQsContact Family Division-STT/STJContact Family Division-STXTraffic DivisionAppealing a Traffic CaseTraffic Division FAQsContact Traffic Division-STT/STJContact Traffic Division-STXPay Your CitationAdministrationAdministrator of CourtsHuman Capital ManagementFiscal ManagementCourt ServicesProcurementAnnual ReportsADAOffice of the Virgin Islands MarshalTechnology ServicesCareer OpportunitiesRulesOpinionsFormsCourt CalendarsCourt CalendarsPublic PostingsMENUSuperior Court of the Virgin Islands&nbsp;»&nbsp;Court Opinions&nbsp;»&nbsp;Published OpinionsA+A-Published OpinionsSub Menu
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        RSS FeedStart Date: End Date: Judge: Clear FilterCase CaptionDateCase NumberJudgeCitationSummaryPeople of the Virgin Islands vs. Ta'Jhanique Cumberbatach, Sharif Matthew, and Sharif Matthew2023/01/03SX-2021-CR-73, SX-2021-CR-75 and SX-2021-CR-214Willocks, Harold W. L.2023 VI Super 1PView SummaryGovernor Albert Bryan, Jr. in his official capacity, and the Government of the Virgin Islands vs. Virgin Islands Water and Power Authority2023/03/08ST-21-CV-361Gumbs-Carty, Renee2023 VI Super 5PView SummaryPeople of the Virgin Islands vs. Nahjeeb Acevedo2023/04/05SX-21-CR-201Willocks, Harold W. L.2023 VI Super 12PView SummaryPeople of the Virgin Islands vs. Danny Delerme2023/04/24SX-2020-CR-54Willocks, Harold W. L.2023 VI Super 17PView SummaryHaill Hassan vs. Brian/Bryan Bishop2023/05/01SX-2017-CV-302Willocks, Harold W. L.2023 VI Super 20PView SummaryShowayne Sidney Modeste2023/05/05SX-2015-CV-21Willocks, Harold W. L.2023 VI Super 21PView SummaryShanika K. Lewis vs. Conagra Brands, Inc. f/k/a and Successor in Interest to Conagra Foods/ Shanika K. Lewis vs. DS Containers, Inc. and PSMT, LLC d/b/a Pricesmart2023/06/16ST-2019-CV-150 &amp; ST-2020-CV-170Francois, Denise M.2023 VI Super 30PView SummaryFirstbank Puerto Rico vs. Edmond Webster a/k/a Edmond R. Webster, Bernice Webster, Cleve E. Webster a/k/a Cleve Webster, Oasis Development, LLC., and Triumph Development, LLC.2023/06/15ST-2012-CV-239Mackay, Kathleen Y. 2023 VI Super 33PView SummaryRhonda Jeremiah, As Personal Representative of Tamir Lake, Deceased vs. VI Department of Human Services, Lutheran Social Services of the Virgin Islands, Lutheran Services for Developmentally Disabled, Inc.2023/06/15SX-2022-CV-148Willocks, Harold W. L.2023 VI Super 34PView SummaryWanda Vialet as Personal Representative of the Estate of Pauline Figueroa vs. Virgin Islands Government Hospital and Health Facilities Corporation and Dr. Raymond Cintron, M.D.2023/08/07SX-2021-CV-768Willocks, Harold W. L.2023 VI Super 45PView SummaryPeople of the Virgin Islands vs. Juan Aponte, Jr.2023/08/18SX-2022-CR-96Willocks, Harold W. L.2023 VI Super 51PView SummaryJody Olson, Individually and on Behalf of all Others Similarly Situated vs. VI Water and Power Authority and Lawrence J. Kupper and GVI2023/10/18ST-2019-CV-602Willocks, Harold W. L.2023 VI Super 61PView SummaryGo Fast Charters, LLC. vs. Texaco Caribbean, Inc.2023/10/11ST-2010-CV-672Francois, Denise M.2023 VI Super 58PView SummaryIn Re: Limetree Bay Commercial Litigation Cases2023/11/02SX-2022-MC-37Willocks, Harold W. L.2023 VI Super 65PView SummaryIn Re: Limetree Bay Commercial Litigation Cases2023/11/02SX-2022-MC-37Willocks, Harold W. L.2023 VI Super 66PView SummaryJoycelyn Williams vs. World Fresh Market, LLC d/b/a Pueblo2023/11/15ST-2019-CV-488Thomas-Jacobs, Carol2023 VI Super 70PView SummaryIn Re: Alumina Refinery Toxic Dust Claims2023/11/30SX-2022-MC-27Andrews Jr., Alphonso G.2023 VI Super 71PView SummaryBobax Ventures, LP vs. Innercircle logistics, Inc. and John A. Clendenin2022/01/25SX-15-CV-173Willocks, Harold W. L.2022 VI Super 7PView SummaryLC Daniel Enterprises, Inc. d/b/a Global Tours Travel Agency vs. Keith James d/b/a Keith's Travel2022/01/25SX-15-CV-237Willocks, Harold W. L.2022 VI Super 9PView SummaryIn Re:  Refinery Workers Toxic Tort Litigation2022/01/14SX-15-CV-198Andrews, Jr. Alphonso G.2022 VI Super 4PView SummaryIsland Airlines, LLC, Eagle Aviation, LLC, and Trond Osthaug vs. William Bohlke, Jr., Gohlke International Airways, Inc. William R. Bohlke, Michael Johnson; VI Port Authority, and David W. Mapp, Assistant Executive Director of the VI Port Authority in his Official and Individual Capacity2022/02/14SX-16-CV-404Brady, Douglas A.2022 VI Super 20PView SummaryKirk Rondon vs. Caribbean Leasing &amp; ECO Transportation, Inc., d/b/a Dollar Car Rental, and Justin Workman2022/01/12ST-19-CV-302Tejo, Sigrid M.2022 VI Super 2PView SummaryBluewater Construction, Inc. vs. Gary Hill and Wanda Hill2022/02/11ST-20-CV-212Francois, Denise M.2022 VI Super 13PView SummaryPeople of the Virgin Islands vs. Elroy Joseph2022/01/27SX-19-CR-200Willocks, Harold W. L.2022 VI Super 12PView SummaryGlen George Selkridge vs. Ermin Oretha Greene and DavidByron Johnson, Jr.2022/02/08SX-20-CV-761Willocks, Harold W. L.2022 VI Super 16PView SummaryReinaldo M. Bermudez vs. Virgin Islands Port Authority and American Infrastructure Development, Inc.2022/03/15SX-17-CV-275Brady, Douglas A.2022 VI Super 28PView SummaryVernal Ezekiel Herbert vs. National Industrial Services, LLC2022/03/18SX-19-CV-629Willocks, Harold W. L.2022 VI Super 30PView SummarySiwell Inc. d/b/a Capital Mortgage Services of Texas vs. Nilsa Ivalisse Bough and Blanche D. Bough as Trustees of the Nilsa P. Bough Revocable Trust and Eden East Property Owners' Association, Inc.2022/03/23SX-20-CV-223Willocks, Harold W. L.2022 VI Super 32PView SummaryStrand Square, LLC vs. Digby Stridiron II2022/03/14SX-20-CV-659Willocks, Harold W. L.2022 VI Super 26PView SummaryKemit Lewis vs. Virgin Islands Government Hospital and Health Facilities Corporation, Dr. Leslie Burton, and Dr. Ramesch Lakhram2022/03/22SX-21-CV-893Willocks, Harold W. L.2022 VI Super 33PView SummarySamuel  Ferdinand vs. Abd Hammoudeh, MD2022/03/18SX-22-CV-25Willocks, Harold W. L.2022 VI Super 31PView SummarySt. Croix Financial Center, Inc. vs. Jackstar, Inc. and Jeff Lacroix2022/03/28SX-18-CV-283Willocks, Harold W. L.2022 VI Super 40PView SummaryPeople of the Virgin Islands vs. Valmon Glasford Jr.2022/04/19ST-20-CR-205Mackay, Kathleen Y.2022 VI Super 42PView SummaryJoseph Gerace and Victoria Vooys d/b/a Cane Bay Beach Bar vs. Warren Mosler, Chris Hanley, and Chrismos Cane Bay, ILC2022/04/22SX-05-CV-368Willocks, Harold W. L.2022 VI Super 45PView SummaryJoseph Gerace and Victoria Vooys d/b/a Cane Bay Beach Bar vs. Warren Mosler, Chris Hanley, and Chrismos Cane Bay, LLC2022/04/22SX-05-CV-368Willocks, Harold W. L.2022 VI Super 45PView SummaryPeople of the Virgin Islands vs. Quanza J. Heath2022/06/07SX-17-CR-23Willocks, Harold W. L.2022 VI Super 55PView SummaryMaura Herman vs. Virgin Islands Government Hospital and Health Facilities Corporation d/b/a Governor Juan F. Luis Hospital and Medical Center, Walter J. Pedersen, M.D. John Does, and Jane Does2022/06/21SX-2012-CV-471Willocks, Harold W. L.2022 VI Super 58PView SummaryPeople of the Virgin Islands vs. Hubert Lee, Jr. and Youan Rodriguez2022/06/21SX-17-CR-210 and SX-2017-CR-145Willocks, Harold W. L.2022 VI Super 60P &amp; 61PView SummaryThelma Battiste and Charles Haynes vs. Auction.Com, Ditech Financial LLC a/k/a Greentree Servicing, and Federal National Mortgage Association2022/07/11SX-19-CV-228Willocks, Harold W. L.2022 VI Super 65PView SummaryDeborah Smith on her own and as Personal Representative of the Estate of Greg E. Smith vs. Virgin Islands Government Hospital and Health Facilities Corporation on behalf of the Governor Juan F. Luis Hospital and Medical Center, Dr. Casey 2022/07/13SX-21-CV-654Willocks, Harold W. L.2022 VI Super 66PView SummaryJoseph Gerace and Victoria Vooys d/b/a Cane Bay Beach Bar vs. Warren Mosler, Chris Hanley, and Chrismos Cane Bay, LLC2022/04/26SX-2005-CV-368Willocks, Harold W. L.2022 VI Super 46PView SummaryDutch West Indies Trading Company, Inc. d/b/a Bandwith VI Company; Hurrican Communications, LLLP; Palo Duro Communications, Inc.; Neutron Communications, LLC; and Storm Communications, LLC, vs. Ralph Addington, SWP Holding LLC; Arcom Communication, LLC; SBA Towers USVI; Hunter Logan; and Nichols, Newman, Logan &amp; D'eramo2022/07/26SX-05-CV-661Willocks, Harold W. L.2022 VI Super 69PView SummaryPeople of the Virgin Islands vs. Tyley Smith a.k.a Tyler Smith2022/08/19SX-22-CR-43Willocks, Harold W. L.2022 VI Super 72PView SummaryPeople of the Virgin Islands vs. Charles Vanterpool III2022/08/19SX-22-CR-103Willocks, Harold W. L.2022 VI Super 73PView SummaryRodney Stanley vs. VI Bureau of Corrections and Wynnie Testamark2022/09/08ST-16-MC-75Willocks, Harold W. L.2022 VI Super 77PView SummaryJoseph Gerace, Victoria Vooys, d/b/a Cane Bay Beach Bar vs. Maria Bentley; David Bentley; CB3, Inc.; Warren Mosler; Chris Hanley; and Chrismos Cane Bay, LLC2022/09/12SX-05-CV-368Willocks, Harold W. L.2022 VI Super 78PView SummaryPeople of the Virgin Islands vs. Tyley Smith aka Tyler Smith2022/09/19SX-22-CR-43Willocks, Harold W. L.2022 VI Super 72PView SummaryPeople of the Virgin Islands vs. Timothy Perez2022/09/19SX-22-CR-128Willocks, Harold W. L.2022 VI Super 81View SummaryKendall Motoo aka Kendall Matoo vs. Lhuis Rivera-Melendez aka Luis Rivera-Melendez and VI Enterprises Inc. d/b/a Avis Rent A Car 1800/01/01SX-2022-CV-199Willocks, Harold W. L.2022 VI Super 91PView SummaryPeople of the Virgin Islands vs. Jimmy Davis2022/11/29Sx-20-CR-98Brady, Douglas A.2022 VI Super 95View SummaryAncilla Veronica Gittens as Personal Representative of the Estate of Leopold Gittens vs. Jacqueline P. Butler as Executrix of the Estate of Frank Bishop, M.D.2022/12/29SX-05-CV-566Brady, Douglas A.2022 VI Super 100PView SummaryThomas Klotzbach vs. Virgin Islands Water and Power Authority2021/06/14ST-13-CV-445Mackay, Kathleen Y.2021 VI Super 64PView SummaryKirk Rondon vs. Caribbean Leasing and ECO Transportation, Inc., D/B/A Drive Green, VI, Deft, Inc. D/B/A Dollar Car Rental, and Justin Workman2021/07/08ST-19-CV-302Tejo, Sigrid M.2021 VI Super 72PView SummaryFrancis B. Serieux vs. Schneider Clinic and St. Thomas East End Medical Center Corporation2021/07/22ST-19-CV-591Tejo, Sigrid M.2021 VI Super 76PView SummaryLakeview Loan Servicing, LLC vs. Krishna R. Singh, Itzamar Singh, and Aurora Loan Services2021/07/28SX-16-CV-541Willocks, Harold W. L.2021 VI Super 79PView SummaryWorldwide Travel Staffing, LTD vs. Governor Juan F. Luis Hospital and Medical Center and VI Gov't Hospital and Health Facilities, Corp.2021/10/04SX-14-CV-9Willocks, Harold W. L.2021 VI Super 97PView SummaryHotel on the Cay Time-Sharing Association, Inc. vs. Government of the Virgin Islands2021/10/07SX-12-CV-13Brady, Douglas A.2021 VI Super 102View SummaryJahzeel Fenton vs. Government of the VI Office of the VI Attorney General Wynnie Testamark, Director of the US Virgin Islands Bureau of Corrections2021/10/15SX-19-MC-78/SX-10-CR-347Meade, Jomo2021 VI Super 101PView SummaryTerrence Nelson vs. Centerline Car Rentals, Inc. and Jonathan Scully2021/10/29SX-20-CV-273Willocks, Harold W. L.2021 VI Super 109PView SummaryMichael Clark vs. The Virgin Islands Housing Authority (VIHA)2021/11/15ST-17-CV-423Tejo, Sigrid M.2021 VI Super 111PView SummaryMichael Clark vs. The Virgin Islands Housing Authority (VIHA)2021/12/23ST-17-CV-423Tejo, Sigrid M.2021 VI Super 123PView SummaryPatrick Kralik vs. Osage St. Croix Holdings, LLC. and Christiansted Restoration Corp.2021/01/13SX-19-CV-61Willocks, Harold W. L.2021 VI Super 1PView SummaryJerome B. Cipriani and Lawrence W. Cipriani vs. Roben Cipriani2021/01/13SX-17-CV-81Willocks, Harold W. L.2021 VI Super 4PView SummaryNorman Agness vs. Furniture Plus2021/10/13ST-20-SM-122Carr, III,, Henry V.2021 VI Super 104PView SummaryMichael Kitnurse vs. Marshall and Sterling and Certain Under Writers at Lloyds of London 2021/01/28SX-14-CV-361Willocks, Harold W. L.2021 VI Super 8PView SummaryMichael Felix vs. Caribbean Auto Mart of St. Croix, Inc. and Linus Lancane 2021/01/28SX-08-CV-86Willocks, Harold W. L.2021 VI Super 9PView SummaryRegine Fitzner vs. New Werner Holding Co. Inc., New Werner Holding (DE), LLC. Werner Co., Gallows Bay Hardware, Inc., and Orgill, Inc.2021/02/08SX-09-CV-400Willocks, Harold W. L.2021 VI Super 6PView SummaryShawn V. Smith vs. Hovensa, LLC.2021/01/28SX-20-CV-229Willocks, Harold W. L.2021 VI Super 10PView Summary Alfred Greenaway vs. Virgin Islands Water &amp; Power Authority, Industrial Automation, Inc.1800/01/01SX-01-CV-588Brady, Douglas A.2021 VI Super 54PView SummaryJoseph Mathurin vs. Hess Oil Virgin Islands Corporation, Amerada Hess Corporation, and SPX Corporation, as Successor-In-Interest to Litwin Corporation2021/11/02SX-06-CV-627Willocks, Harold W. L.2021 VI Super 110PView SummaryUnited Steelworkers, Locals 8248 &amp; 8249 vs. Gov't of the VI Division of Personnel, &amp; Public Employees Relations Board2021/02/02ST-13-CV-668Gumbs-Carty, Renee2021 VI Super 12PView SummaryJamal M. Abed and Jalal M. Abed vs. Anuar Mufid Abed, Akram Mufid Abed, and Sion Farm Service Station2021/09/30SX-18-CV-529Willocks, Harold W. L.2021 VI Super 98PView SummaryOriental Bank vs. Nehemiah Frey and Tara N. Lee a/k/a Tara Lee2021/09/07SX-19-CV-309Willocks, Harold W. L.2021 VI Super 93PView SummaryPeter Ghirawoo vs. Faye Joh-Baptisti, Peppertree Hill Landowners Association, Inc., Leatrice Garcia, and Johnny and Oreta Hughes2021/04/14SX-19-CV-555Willocks, Harold W. L.2021 VI Super 43PView SummaryChristoph Keith Massac vs. Government of the Virgin Islands, Office of the Lieutenant Governor2021/04/19ST-20-CV-278Francois, Denise M.2021 VI Super 45PView SummaryHigh Times VI Enterprises, LLC vs. Hafiz Ahmad Rahhal and d/b/a Delma Auto Sales &amp; Wholesale2021/04/14SX-20-CV-921Willocks, Harold W. L.2021 VI Super 42PView SummaryMadeline A. Bassil2021/08/16ST-2021-CV-148Tejo, Sigrid M.2021 VI Super 88PView SummaryPeople of the Virgin Islands vs. Micaiah Cozier2022/05/17ST-21-CR-380Gumbs-Carty, Renee2022 VI Super 53UView SummaryMelisia Hanley as Chair VI State Nurse' Association collective Bargaining Unit &amp; Jacqueline Canton as Chair Registered Nurses' Leadership Union, Inc.2021/10/05SX-21-CV-644Willocks, Harold W. L.2021 VI Super 100PView SummaryIn Re: Asbestos, Silica and Catalyst Dust Claims II2021/02/16SX-2021-MC-50Andrews, Jr. Alphonso G.2021 VI Super 113PView SummaryIn Re: Asbestos, Silica and Catalyst Dust Claims I2021/02/16SX-21-MC-58Andrews, Jr. Alphonso G.2021 VI Super 114PView SummaryIn Re: Asbestos, Silica and Catalyst Dust Claims III2021/02/16SX-21-MC-56Andrews, Jr. Alphonso G.2021 VI Super 112PView SummaryIn Re: Cases Under Bankruptcy Stay Michael Felix vs. Caribbean Auto mart of St. Croix, Inc. and Linus Lancane2021/04/22SX08-CV-86Willocks, Harold W. L.2021 VI Super 41PView SummaryDona Aaron vs. Virgin Islands Government Hospital and Health Facilities Corporation2021/03/08SX-14-CV-423Willocks, Harold W. L.2021 VI Super 30PView SummaryMarsha Jagrup vs. VI Board of Nurse Licensure2021/03/05SX-15-CV-548Brady, Douglas A.2021 VI Super 29PView SummaryLuis Magras vs. National Industrial Services, LLC, Pinnacle Services, LLC, and Limetree Bay Terminals, L.L.C.2021/06/24SX-17-CV-435Willocks, Harold W. L.2021 VI Super 67PView SummaryPeople of the Virgin Islands vs. Jamal Joseph2021/02/24SX-19-CR-11Willocks, Harold W. L.2021 VI Super 23PView SummaryGuardian Insurance Company vs. Ramzy Abdallah2021/02/19SX-19-CV-110Brady, Douglas A.2021 VI Super 20PView SummaryDavid Joseph and Debbiely Joseph vs. Amorite Connor and Elena Herbert2021/02/18SX-19-CV-525Willocks, Harold W. L.2021 VI Super 18PView SummaryPeter Ghirawoo vs. Faye John-Baptiste, Peppertree Hill Landowners Association, Inc., Leatrice Garcia, and Johnny and Oreta Hughes2021/02/24SX-19-CV-555Willocks, Harold W. L.2021 VI Super 24PView SummaryRaymond Berkeley vs.Michele Berkeley, Individually and as Trustee of the Trust Agreement of Barbara T. Berkeley2021/02/24SX-20-CV-121Willocks, Harold W. L.2021 VI Super 22PView SummaryRutha M. Brown and Frank Brown Jr. vs. Certain Underwriters at Lloyd's of London Subscribing to Policy No. HOCAT1730XC, Certain Underwriters at Lloyd's of London Subscribing to Policy No. HOCGX1156XC, and Marshall &amp; Sterling St. Croix, Inc.2021/06/07SX-20-CV-771Willocks, Harold W. L.2021 VI Super 61PView SummaryHassan Abdallah vs. Hasan Abdel-Rahman, Malea Kiblan Rahman, Abdul Samad, Foad Samad, and Ayman Abdel-Samad2021/07/22ST-13-CV-227Tejo, Sigrid M.2021 VI Super 75PView SummaryPeople of the Virgin Islands vs. Jestus Francis2021/02/24ST-20-CR-188Francois, Denise M.2021 VI Super 21PView SummaryPhillip Tutein v. Fiat Chrysler Automobiles, US LLC2020/07/07SX-20-CV-38Brady, Douglas A.2020 VI Super 71View SummaryFirstBank Puerto Rico vs. Thomas Alan Ainger2021/05/12SX-20-RV-04Willocks, Harold W. L.2020 VI Super 47PView SummaryIn the Matter of Dereck Lee Clive2020/11/18SX-19-CV-593Willocks, Harold W. L.2020 VI Super 94PView SummaryMagens Interval Resort, Inc., d/b/a Magens Bay Villas Club vs. William K. Hart and Andrea B. Hart2020/10/06ST-15-SM-431Carr, III,, Henry V.2020 VI Super 86PView SummaryJah-I-Dah Gumbs vs. Schneider Regional Medical Center, Maria C. Juelle, P.A., James W. Freeman, M.D., John Dow and Jane Doe2020/10/19ST-17-CV-272Gumbs-Carty, Renee2020 VI Super 87PView SummaryAdaryll S. Gumbs vs. Wynnie Testamark, Director of Bureau of Corrections2020/08/12ST-20-MC-13Willocks, Harold W. L.2020 VI Super 67PView SummaryHess Oil Virgin Islands Corporation vs. Fluor Daniel, Individually and as successor-in-interest to Fluor Engineers and Constructors, Inc.2020/04/08SX-05-CV-165Molly, Robert A.2020 VI Super 50PView SummaryDr. Tylur Arvidson and Dr. Tygue Arvidson vs. Dr. Williams Buchar and V.I. Chiropractic, LLC2020/03/28ST-16-CV-410Dunston, Michael C.2020 VI Super 48PView SummaryJacqueline Santiago vs. United Corporation d/b/a Plaza Extra (West)2020/12/28SX-05-CV-739Brady, Douglas A.2020 VI Super 105PView SummaryPatrick Kralik vs. Osage STX Holdings, LLC2020/06/22SX-19-CV-61Willocks, Harold W. L.2020 VI Super 69PView SummaryVenessa Hendricks vs. Pinnacle Services, LLC; and Limtetree Bay Terminal, LLC2020/03/16SX-18-CV-199Willocks, Harold W. L.2020 VI Super 37PView SummaryPeople of the Virgin Islands vs. Jerris T. Browne, Gregory Christian, and Syed Gilani2020/03/13SX-17-CR-174, SX-17-CR-175, SX-17-CR-189Molly, Robert A.2020 VI Super 41PView SummarySixteen Plus Corporation vs. Manal Mohammad Yousef Counterclaimant2020/03/16SX-16-CV-65, SX16-CV-650, SX-17-CV-342Molly, Robert A.2020 VI Super 43PView SummaryMichael Kitnurse vs. Marshall and Sterling; and Certain Underwriters at Lloyds of London Subscribing to Policy Number CPS2006016602020/05/26SX-14-CV-361Willocks, Harold W. L.2020 VI Super 60PView SummaryJerome Matthews vs. R&amp;M General Contractors, Inc.; Hector Rosario; and Jacqueline Mercedes2020/05/11SX-13-CV-499Willocks, Harold W. L.2020 VI Super 33PView SummaryPeople of the Virgin Islands vs. Jose Ventura2020/06/03SX-2012-CR-76Donohue, Sr., Darryl Dean2020 VI Super 63PView SummaryJacqueline Santiago vs. United Corporation d/b/a Plaza Extra (West)2020/12/28SX-05-CV-739Brady, Douglas A.2020 VI Super 105PView SummaryCastillo, et al, vs. St. Croix Basic Services, Inc.,  Basic Industries, Inc., Hovensa, LLC, and Amerada Hess Corporation2020/03/10SX-09-CV-299Molly, Robert A.2020 VI Super 35PView SummaryCarmelo Ayala vs. Lockheed Martin Corporation, individually and as successor-in-interest to Martin Marietta Corporation; Martin Marietta Aluminum, Inc., and Martin Marietta Aluminum Properties, Inc.; Martin Marietta Corporation individually and as successor-in-interest to Martin Marietta Aluminum, Inc.; and Martin Marietta Aluminum Properties, Inc.; Martin Marietta Aluminum, Inc.; Martin Marietta Aluminum Properties, Inc.; and General Engineering Corporation2020/03/03SX-08-CV-296Molly, Robert A.2020 VI Super 32PView SummaryStephanie Hodge vs. H. Duane Bobeck; Passport Holdings; Neptune Holdings; and Bobeck Real estate Company2020/06/12SX-08-CV-201Willocks, Harold W. L.2020 VI Super 68PView SummaryJohn Barbell vs. Amerada Hess Corporation; Hess Oil Virgin Islands Corporation; Litwin Corporation; and Universal Oil Products also known as U.O.P.2020/04/26SX-06-CV-198Molly, Robert A.2020 VI Super 53PView SummaryLeandre Aarndel vs. Hess Oil Virgin Islands Corporation; Amerada Hess Corporation; Litwin Corporation; Shell Oil Corporation; U.O.P. LLC; and American Cyanamid2020/04/13SX-05-CV-799Molly, Robert A.2020 VI Super 52PView SummaryAlthea Eddy, as Personal Representative of the Estate of Linton Eddy vs. Treasure Bay V.I., Corp., d/b/a Divi Carina Bay Casino, and Casino Control Commission2020/08/19SX-15-CV-49Brady, Douglas A.2020 VI Super 76UView SummaryPeople of the Virgin Islands vs. Allan E. Stevens2021/03/09ST-19-CR-78Mackay, Kathleen Y.2021 VI Super 25PView SummaryPeople of the Virgin Islands vs. Alain Rodriguez Rionda2021/03/09ST-19-CR-168Mackay, Kathleen Y.2021 VI Super 31PView SummaryElisa F. Bryan Lacatena vs. Michael Anthony Lacatena2021/03/19ST-19-DI-118Watlington, Debra S.2021 VI Super 36PView SummaryPatrick Kralik v. Osage STX Holdings, LLC2020/06/22SX-19-CV-061Willocks, Harold W. L.2020 VI SUPER 069View SummaryNycole Thompson vs. Public Employees Relations Board and Virgin Islands Port Authority2021/02/04ST-18-CV-720Gumbs-Carty, Renee2021 VI Super 16PView SummaryHighland Credit Opportunities CDO, Ltd.; Highland Credit Strategies Master Fund, L.P.; Highland Restoration Capital Partners Master vs. Stephen Evans-Freke2021/03/17ST-18-CV-314Willocks, Harold W. L.2021 VI Super 34PView SummaryPeople of the Virgin Islands vs. Trevorne Lake2022/09/26ST-18-CR-37Mackay, Kathleen2022 VI Super 82PView SummaryWilliam Desmond and Tracy Desmond vs. Virgin Islands Water and Power Authority and Haugland Energy Group, LLC2022/10/05SX-2018-CV-48Brady, Douglas A.2022 VI Super 85PView SummaryTiffani Hervert on behalf of the minor Dellitta Mapp vs. Government of the Virgin Islands, Department of Education and Jocelyn Hendrickson2021/02/19SX-18-CV-179Brady, Douglas A.2021 VI Super 19PView SummaryOwen Williams v. Groundwater and Environmental Services, Inc.,  and Christiansted Equipment, Inc., 2020/01/08SX-18-CV-552Brady, Douglas A.2020 VI Super 001View SummaryDiamondRock Hospitality Company vs. 2019/12/05ST-18-CV-399Gumbs-Carty, Renee 2020 VI Super 12View SummaryA. Susan Miller v. V.I. Wheel Estate, LLC d/b/a Peppertree Terrace2020/01/21SX-18-CV-041Brady, Douglas A.2020 VI Super 014View SummaryCynthia I. Shuster and Michael J. Shuster v. Barracuda Charters, LLC and Captain Kenneth Klein2020/01/22ST-18-CV-009Gumbs-Carty, Renee2020 VI Super 16View SummaryDiamondRock Hospitality Company v. Certain Underwriters at Lloyd's of London2020/01/24ST-18-CV-399Gumbs-Carty, Renee2020 VI Super 18View SummaryVenessa Hendricks v. Pinnacle Services, LLC; and Limetree Bay Terminal, LLC.2020/03/16SX-18-CV-199Willocks, Harold W.L.2020 V.I. Super 037View SummaryReola Garcia Oliver, James Oliver and Frankie Oliver v. Terminix International Company, LLP2020/04/26SX-18-CV-229Molloy, Robert A.2020 VI Super 54View SummaryGoverment of the Virgin Islands v. John K. Dema, P.C.,2020/01/24SX-17-CV-261Molloy, Robert A.2020 VI Super 19View SummaryPeople of the Virgin Islands v. Jerris T. Browne, Gregory Christian and Syed Gilani2020/02/14SX-17-CR-174Molloy, Robert A.2020 VI Super 26View SummaryJah-I-Dah Gumbs v. Schneider Regional Medical Center, Maria C. Juelle, P.A.2020/10/19ST-17-CV-250Gumbs-Carty, Renee2020 VI Super 87View SummaryRodney Stanley v. Virgin Islands Bureau of Corrections, et al.,2020/04/01ST-16-MC-75Molloy, Robert A.2020 VI Super 47View SummaryTeriano Douglas v. Transportation Services of St. John, Inc.,2020/02/04ST-16-CV-712Gumbs-Carty, ReneeCite as 2020 VI Super 22View SummaryDr. Tylur Arvidson and Dr. Tygue Arvidson vs. Dr. William Buchar and V.I. Chiropractic LLC2020/03/10ST-16-CV-410Dunston, Michael C.2020 VI SUPER 36View SummaryPatricia Schrader-Cooke v. The Government of the Virgin Islands2019/12/06SX-16-CV-655Brady, Douglas A.2019 VI Super 167View SummarySixteen Plus Corporation v. Manal Mohammad Yousef2020/03/16SX-16-CV-065Molloy, Robert A.2020 VI Super 43View SummaryLucy Laforce v. Estate of Gregory Laforce2019/12/27SX-15-CV-181Willocks, Harold W.L.2019 VI Super 171View SummaryTransportation Services of St. John, Inc., Clifton A. Boynes Jr., vs. Loredon Boynes, Tonya Pickering, and Linked Resources LLC,2019/12/30ST-13-CV-544Molloy, Robert A. 2019 VI Super 178View SummaryJerome Matthews v. R &amp; M General Contractors Inc.,2020/03/11SX-13-CV-499Willocks, Harold W.L.2020 VI Super 033View SummaryPeople of the Virgin Islands v. Jose Rivera2020/06/03SX-12-CR-65Donahue, Sr., Darryl D.2020 VI Super 64View SummaryPeople of the Virgin Islands v. Jose Ventura2020/06/03SX-12-CR-76Donohue, Sr., Darryl D.2020 VI Super 63View SummaryEleanor Abraham; Phillp Abraham v. St. Croix Renaissance Group LLLP,2020/02/03SX-11-CV-550Molloy, Robert A. 2020 VI Super 21View SummaryLeonor Mercedes Palermo v. World Fresh Market, L.L.C. a/k/a Pueblo2020/01/27SX-08-CV-599Molloy, Robert A. 2020 VI Super 20View SummaryStephanie Hodge v. H. Duane Bobeck2020/06/12SX-08-CV-201Willocks, Harold W.L.2020 V.I. Super 068PView SummaryCertain Underwriters at Lloyd's of London v. Juan Garcia2020/01/15SX-07-CV-141Molloy, Robert A.2020 VI Super 8View SummaryBeachside Associates, LLC vs. SBRMCOA, LLC, d/b/a Sapphire Beach Resort2020/01/16ST-06-CV-498Mackay, Kathleen Y.2020 VI Super 9View SummaryRhonda Jeremiah, As Personal Representative of Tamir Lake, Deceased vs. VI Department of Human Services, Lutheran Social Services of the Virgin Islands, Lutheran Services for Developmentally Disabled, Inc.2023/06/15SX-2022-CV-148Willocks, Harold W. L.2023 VI Super 34PView SummaryKenrick Maynard vs. Government of the Virgin Islands, Governor Albert Bryan is his official capacity, Ariel M. Smith, Attorney General, Bureau of Corrections Director Wynnie Testamark2023/07/07SX-2018-MC-66Brady, Douglas A.2023 VI Super 36PView SummaryJody Olson, Individually and on Behalf of all Others Similarly Situated vs. VI Water and Power Authority and Lawrence J. Kupfer and Government of the Virgin islands2023/11/02ST-2019-CV-602Willocks, Harold W. L.2023 VI Super 64PView Summary
    






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